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            EXHIBIT 4
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                  UNITED STATES DISTRICT COURT

               FOR THE DISTRICT OF MASSACHUSETTS



    IN RE:    PHARMACEUTICAL               MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE             CIVIL ACTION

    PRICE LITIGATION                       01-CV-12257-PBS

    THIS DOCUMENT RELATES TO

    U.S. ex rel. Ven-a-Care of             Judge Patti B. Saris

    the Florida Keys, Inc.

         v.                                Chief Magistrate

    Abbott Laboratories, Inc.,             Judge Marianne B.

    No. 06-CV-11337-PBS                    Bowler




        Videotaped deposition of MARK G. DUGGAN PH.D.

                               Volume II



                                  washington, D.C.

                                  Tuesday, July 15, 2008

                                  9:00 a.m.




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 1       A. Around this specific time or just               1        Q. Would you have preferred to have claims
 2   generally?                                             2    data for all 50 states, yes or no?
 3       Q. At any point.                                   3            MR. LAVINE: Objection to form.
 4       A. I believe that I requested especially data      4        A. I believe that -- that's something that I
 5   for the states that accounted for a disproportionate   5    would need to think a bit about. What I can say is
 6   share of Medicaid spending on complaint products. For 6     that I believe that if I did have perfect data for
 7   example, Illinois. For example, Florida. And so        7    every state -- perfect data from state Medicaid
 8   forth.                                                 8    agencies for every state, for every NDC in every time
 9       Q. And why did you -­                              9    period that the results that I describe in my report
10       A. And so -- just to clarify -­                   10    for this variable difference, for the number of claims
11       Q. Sure.                                          11    with difference greater than zero and so forth, would
12       A. -- so I certainly recall requesting data       12    have been higher.
13   for those large states.                               13            And I go through that in my report about
14       Q. Did you not want claims data for all 50        14    why I believe that to be true. So I believe that in
15   states?                                               15    my report that I undertook the necessary amount of
16       A. I believe that if -- I wasn't opposed to       16    data acquisition to arrive at an accurate, though
17   having data for other states, but I felt for the      17    conservative, finding.
18   purposes of my analysis it would be -- just a sort of 18        Q. Move to strike as nonresponsive.
19   diminishing returns sense. It would be most important 19            My question was not what the results -­
20   to start with the places that account for the largest 20    what you think your results would have been if you had
21   amount of Medicaid spending.                          21    data for all 50 states throughout the claim period for
22       Q. Did you want claims data for all 50 states     22    all NDCs. It was whether or not you would have
                                               Page 244                                                     Page 246

 1   to do your analysis?                                    1   preferred to have claim data for all 50 states and for
 2           MS. THOMAS: Objection.                          2   all the time period. That's the question.
 3       A. I believe that -- so as I outline in my          3           MS. THOMAS: Objection.
 4   report, there are three different sets of Medicaid      4       A. I believe that in my analysis I did
 5   data that I used. Data from state Medicaid agencies,    5   precisely what I preferred given the available data
 6   CMS Medicaid claims data for all 50 states and the      6   and so forth. So can the caveat that -- and so I
 7   District of Columbia, and state drug utilization data.  7   guess I won't discuss the issue I just mentioned. But
 8   I certainly did request that we acquire the CMS data, 8     I did exactly the analysis that I wanted to do, taking
 9   which did include claims data for all 50 states and     9   all factors into account.
10   the District of Columbia.                              10       Q. And one of the factors was the availability
11       Q. That's a different type of claims data than     11   of the data, correct? Yes or no?
12   the claims data that you had for certain states,       12           MR. LAVINE: Objection to form.
13   correct?                                               13       A. It would depend on the specific state. But
14       A. There are some differences between the two 14        I believe that for some states in some time periods
15   states with -­                                         15   that would be true.
16       Q. Two sets you mean or states?                    16       Q. SO is it your testimony that in doing your
17       A. Between the two sets of data, between           17   analysis for this case and your opinions that you
18   the -- once again, it's going to depend, the magnitude 18   would not have preferred to have data for all 50
19   of the differences. It may be that in -- so -- but in  19   states? Is that your testimony?
20   general there are some differences between the data 2 0             MS. THOMAS: Objection.
21   provided by the state Medicaid agencies and the data 21             MR. LAVINE: Objection to form.
22   provided by CMS, the claims data provided by CMS. 22            A. As an economist I've done quite a lot of

                                                                                     7 (Pages 243 to 246)
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 1    research and have followed the research. And it is      1   the states. But I ultimately used the claims data
 2    rarely true -- I'm not sure it's ever been true -­      2   that was provided by CMS. And of course in using the
 3    that a study has perfect data. And I would need to      3   CMS claims data I -- well, we can end there.
 4    think a bit about whether the -- if someone were to     4       Q. Are you familiar with how Pennsylvania
 5    drop CDs here in my lap with perfect data -- in         5   calculated its maximum allowable costs?
 6    general as an economist I would always like more data   6           MR. LAVINE: Objection to form.
 7    to produce because as I said, in the research I've      7       A. I may have known this at one point, but I
 8    done, in the research I've followed, one never has      8   don't have it -- I can't recall it exactly right now.
 9    perfect data.                                           9       Q. In your report you have a separate section
10            And it is part of what I'm trained to do       10   or sections that address particular states, correct?
11    and economists like me are trained to do is to make    11   I think it's twelve different states. Is that right?
12    the absolute best use of the data that is available to 12       A. For Medicaid.
13    produce the most accurate findings possible.           13       Q. For Medicaid?
14        Q. SO applying those general principles to         14       A. I believe it is twelve, yes.
15    your work here, you would have preferred to have more 15        Q. And it is for those twelve states that you
16    data?                                                  16   use claims data that was produced by the state
17            MR. LAVINE: Objection to form.                 17   Medicaid program; is that right?
18        A. As an economist there is this term free         18          MS. THOMAS: Objection.
.19   disposal. So one can always dispose of something that 19        Q. Strike that.
20    one receives. So at some level there is no cost to     20           It is for those twelve states minus Indiana
21    receiving it. So in general any economist would say    21   for which you use claims data provided by the Medicaid
22    if they could be provided with more data about an      22   program?
                                                page 248                                                     Page 250

 1    issue they're studying they would prefer to have it    1            MS. THOMAS: Objection.
 2    rather than not and they could always just dispose of 2         A. Provided by the state Medicaid agencies
 3    it, not use it. So this term of free disposal in       3    or -­
 4    general is one that economists frequently mention in 4          Q. Yes.
 5    the course of carrying out research.                   5        A. That is my -- yes. That is correct.
 6        Q. I note that in your list here on page 294       6        Q. And how is it that you came to use the
 7    of Exhibit 1101 you've got Pennsylvania and North      7    claims data provided by the states for those eleven
 8    Carolina as states. If you had received data from      8    states?
 9    those two states would you have disposed of it?        9            MS. THOMAS: Objection.
10            MR. LAVINE: Objection to form.                10        A. Well, as I mentioned at the outset, as an
11        A. At some level if these are two states that     11    economist I set out to answer a question, which was
12    if! -- 1 wouldn't necessarily dispose of it. I might  12    the effect of what we've been discussing on federal
13    consider it.                                          13    government expenditures. And so if one lines up the
14        Q. Is that a way of saying that you don't know    14    50 states from largest spending to lowest spending, it
15    what you would do with it until you have it?          15    is the case that a state like Illinois or Florida will
16        A. Well, if I recall these two states are         16    have a larger effect on this parameter or set of
17    states for which some data was provided by state      17    parameters that I set out to estimate than will a
18    Medicaid agencies. And it was my -- and these state~ 18     state such as Vermont, Wyoming or Alaska.
19    I believe are numbers 11 and 13 or 11 and 14 with     19            So it is natural as an economist to begin
20    respect to spending on Abbott products listed in the 20     with -- given that -- it is natural to begin with the
21    complaint during the time period of interest. And I   21    states that are going to have the largest effect on
22    considered the availability of this data provided by  22    the parameter that I set out to determine, or set of

                                                                                      8 (Pages 247 to 250)
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 1   parameters that I set out to determine.                 1 progress had been made with lllinois, next-most with
 2       Q. And do you know how it is that you have          2 Texas. I'm not sure. That's one possible thing, but
 3   claims data from some state Medicaid programs but not   3 I'm certainly not sure that's the case.
 4   others?                                                 4      Q. What did you write next to Ohio?
 5       A. At my direction Steck Consulting and             5      A. "Get" -- something -- "soon." And I can't
 6   Patrick Ormond with the -- I guess technically with     6 read -- "get stuff soon"?
 7   DOJ or the U.S. Attorney's Office in Boston -- at my    7      Q. What does the paren say?
 8   direction they initiated conversations with states for  8      A. I believe that says "compound drugs."
 9   the acquisition of data. Whether they started with      9      Q. And what does that mean?
10   lllinois or Florida or New York, I'm not sure exactly. l O A . I would want to go back because this may -­
11   But they made inquiries to states. If! recall          11 Ohio may have a specific definition of this. So I
12   correctly there were cases -- perhaps one. And I may   12 would -- this was written 17 months ago and this is
13   be misremembering here -- in which when they contacted 13 something -- it could be this represents when multiple
14   a state the data might not be available.               14 drugs are combined. But once again, I would want to
15           So, for example, suppose they contacted        15 go back and look at -- there's a lot -- I would want
16   Vermont and perhaps Vermont did not have data going    16 to go back and look at my full binders and so forth.
17   back to 200 1 or earlier. That's just an example. I    1 7 It's not something -- it's not a term for which the
18   don't recall that specifically. And so at my           18 definition crisply leaps to mind.
19   direction they initiated these calls and acquired as   19      Q. Was it your understanding that the NDCs at
20   much data as they could from states. And I believe     20 issue in the case were compound drugs?
21   that one factor influencing whether or not data was    21          MR. LAVINE: Object to form.
22   obtained was just the availability of data, whether    22      A. I am not certain what my understanding was
                                               Page 252                                                     Page 254

 1   the state Medicaid agency or its contractor had the     1   at this point 17 months ago.
 2   data. That I believe was one factor.                    2       Q. As of today do you have an understanding
 3       Q. If you would go back to the notes on 294         3   whether the NDCs at issue in this case are compound
 4   that are in front of you -- I'm sorry. Exhibit 1101     4   drugs?
 5   at Bates number ending 294 -­                           5       A. It is my understanding that in some cases
 6       A. The same page, right?                            6   the NDCs in this case represent part or all of a
 7       Q. The same page. Under Ohio -- is that             7   compound drug. But once again, that's something that
 8   "Ohio" under the I?                                     8   I would -- that's a pretty specific issue and it's
 9       A. O-H.                                             9   something that I would want to go back to and drill
10       Q. What do the 1,2 and 3 mean next to those?       10   down on some more to do justice to that.
11       A. Next to Ohio?                                   11       Q. And there's a note to the right, upper
12       Q. Well, no. I'm sorry. Next to all these          12   right-hand comer. Could you read that for us?
13   states. There's a 3 next to California and a 1 next    13       A. "How drug is reimbursed when compounding."
14   to Illinois and a 2 next to Texas. Would you           14   And then -- keep reading?
15   translate that for me?                                 15       Q. Yeah.
16       A. It's hard for me to recall. With just           16       A. Underneath that "Is AWP used." Underneath
17   Illinois at 1 I would think perhaps it was Medicaid    17   that, "If not then how paid."
18   spending for the complaint products. Florida and       18       Q. And as you sit here today, do you have a
19   lllinois are pretty close. But with Texas a 2, it      19   guess of why you wrote that?
20   could be -- I just don't recall. It could be where     20           MR. LAVINE: Object to form.
21   things stood in terms of, you know, what my            21       A. It's just hard to recall. Once again, it's
22   understanding was, conversations, perhaps the greatest 22   notes from 17 months ago. So it is as I outline in my

                                                                                     9 (Pages 251 to 254)

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